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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA


  IN RE: ZANTAC (RANITIDINE)                                                        MDL NO. 2924
  PRODUCTS LIABILITY                                                                 20-MD-2924
  LITIGATION
                                                        JUDGE ROBIN L. ROSENBERG
                                               MAGISTRATE JUDGE BRUCE E. REINHART

  _______________________________/


 THIS DOCUMENT RELATES TO: ALL CASES

                                     PRETRIAL ORDER # 30
                       Stipulated Discovery and Case Management Schedule

        The Court enters the following Order based on the parties’ stipulation regarding discovery and

 the case management schedule in this multidistrict litigation (“MDL”). This Order applies to all cases

 pending in MDL No. 2924 and to all actions transferred to or directly filed in MDL No. 2924 after the

 date of this Order.

 I.     INITIAL DISCLOSURE OBLIGATIONS.

        The Parties have worked together successfully to create a framework for exchanging

 information, which prioritizes the most valuable information to each side, recognizes the unusual

 exigencies of the ongoing pandemic, and incorporates alternative sources of information available in

 this MDL (including the census and registry, as set forth in PTO # 15). Pursuant to the Parties’

 stipulation, the Parties are deemed to be in compliance with Federal Rule of Civil Procedure 26(a)(1).

 This compliance does not waive the right of the Parties to seek the specific information articulated in

 Rule 26(a)(1) through the discovery process – including but not limited to new Parties that may

 subsequently file a notice of appearance in this MDL – rather this provision simply waives the timing

 obligations set forth in Federal Rule of Civil Procedure 26. The Parties are further directed to continue

 to meet and confer regarding additional information exchanges in the future.
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 II.    CASE MANAGEMENT SCHEDULE.

        Consistent with Pretrial Order # 24 (D.E. 767), this Order governs this MDL proceeding from

 the opening of discovery through Daubert motions relating to general causation, as well as Plaintiffs’

 motions for class certification. The Court will enter a subsequent scheduling order as necessary

 following its rulings on those motions.




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  Deadline                  Event

  June 15, 2020             Opening of fact discovery.

  June 22, 2020             Filing of Master Personal Injury Complaint and Master Class
                            Action Complaints.

  August 23, 2020           Answers to Master Complaints or Rule 12 motions to dismiss
                            Master Complaints, in whole or in part. Pursuant to Pretrial
                            Order # 31 (the Court’s Procedures for Master Pleadings),
                            these motions will be consolidated in part, delineated by the
                            nature of the Defendants as more fully set forth in the
                            Procedures for Master Pleadings.

  October 22, 2020          Oppositions to Rule 12 motions to dismiss Master
                            Complaints, in whole or in part.

  November 21, 2020         Replies in support of Rule 12 motions to dismiss Master
                            Complaints, in whole or in part.

  January 8, 2021           Plaintiffs’ disclosure of types of cancer for which they will
                            provide expert reports to proceed to the general causation
                            Daubert hearing in the MDL; Plaintiffs may amend these
                            disclosures upon a showing of good cause. The parties shall
                            meet and confer about the format of these disclosures.

  May 14, 2021              Parties meet and confer concerning any outstanding general
                            causation discovery.

                            Parties begin discussions regarding process for selection of
                            potential bellwether personal injury cases.

  June 2, 2021              Plaintiffs’ disclosures of disciplines and specializations of
                            general causation experts, and areas of expertise relevant to
                            each expert’s general causation expert report. The parties
                            shall meet and confer about the format of these disclosures.


  July 2, 2021              Defendants’ disclosures of disciplines and specializations of
                            general causation experts, and areas of expertise relevant to
                            each expert’s general causation expert report. The parties
                            shall meet and confer about the format of these disclosures.

  July 16, 2021             Plaintiffs’ supplemental disclosures, if any, of disciplines and
                            specializations of general causation experts, and areas of
                            expertise relevant to each expert’s general causation expert



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                                    report, based on Defendants’ disclosures. The parties shall
                                    meet and confer about the format of these disclosures.

  August 2, 2021                    Completion of fact discovery of Defendants on issues related
                                    to general causation.

                                    Plaintiffs’ expert reports on general causation and provision
                                    of three (3) dates on which each expert is available for
                                    deposition.

  August 16, 2021                   Completion of process and plan for selecting potential
                                    bellwether personal injury cases, to be refined and amended
                                    for good cause as appropriate until final bellwether selection
                                    following the Court’s general causation Daubert ruling.

  September 21, 2021                Defendants’ expert reports on general causation and
                                    provision of three (3) dates on which each expert is available
                                    for deposition.

  October 12, 2021                  Plaintiffs’ rebuttal reports, if any, on general causation.

  December 13, 2021                 Completion of expert depositions on general causation.

  December 20, 2021                 Completion of all fact discovery of Defendants and fact
                                    discovery related to class certification.

                                    Daubert motions on general causation and Plaintiffs’ class
                                    certification motions and expert reports.

  February 4, 2022                  Completion of depositions of Plaintiffs’ class certification
                                    experts.

  March 21, 2022                    Oppositions to Daubert motions on general causation.

                                    Defendants’ Oppositions to Plaintiffs’ class certification
                                    motions and expert reports.

                                    Defendants’ Daubert motions directed to Plaintiffs’ class
                                    certification experts.

  April 21, 2022                    Replies in support of Daubert motions on general causation.

                                    Completion of depositions of Defendants’ class certification
                                    experts.

  14 days after General Causation The Parties will submit final Bellwether Selection Plan to the
  Daubert ruling                  Court.



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     June 4, 2022                     Plaintiffs’ replies in support of class certification motions
                                      and rebuttal expert reports, if any, on class certification.

                                      Plaintiffs’ Oppositions to Defendants’ Daubert motions
                                      directed to Plaintiffs’ class certification experts.

                                      Plaintiffs’ Daubert motions directed to Defendants’ class
                                      certification experts.

     July 5, 2022                     Defendants’ Oppositions to Plaintiffs’ Daubert motions
                                      directed to Defendants’ class certification experts.

                                      Defendants’ replies in support of Daubert motions directed
                                      to Plaintiffs’ class certification experts.

     August 3, 2022                   Plaintiffs’ replies in support of Daubert motions directed to
                                      Defendants’ class certification experts.



 III.      CLASS CERTIFICATION.

           The schedule set forth in this Order was the result of extensive negotiating and bargaining

 between these Parties.1 The Parties considered that concurrent briefing of general causation Daubert

 and class certification, rather than briefing class certification after the Court issued its Daubert ruling,

 necessarily means that the Parties will not have the benefit of the Court’s ruling when drafting their

 class certification briefs. The Parties also considered the risk that completing expert discovery only

 one week before and completing fact discovery the day of the filing deadlines for both general causation

 Daubert and class certification motions, could mean that the Parties do not have sufficient time to

 incorporate information that is timely provided into these briefs. The Parties have indicated that they

 understood these risks when they proposed this schedule to the Court.

           The Parties have further agreed and represented to the Court that no motion either to seek

 additional discovery (including but not limited to additional or supplemental experts or expert reports)

 on or to modify, supplement or otherwise re-brief class certification based upon the Daubert order shall


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   The background information describing the Parties’ negotiations and agreements was communicated
 to the Court in a teleconference meeting via Zoom (pursuant to the parties’ consent) on June 15, 2020.
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 be sought unless the moving party can demonstrate that the Daubert Order is based upon information

 that was not presented in the expert reports and Daubert briefing of general causation, and that it

 therefore was not reasonably foreseeable to the Parties at the time of the class certification briefing.

 IV.     MEET AND CONFER OBLIGATIONS.

         Nothing in this Order is intended to limit the ongoing meet and confer obligations of the Parties.

 The Court directs the Parties to continue to meet and confer as to discovery issues, and to continue to

 apprise the Special Master of any issues as soon as they arise. The Court also directs Lead Counsel to

 continue to confer with the Special Master with regard to the ongoing implementation of the Registry

 and resulting data analytics (as set forth in PTO # 15) as needed, but in no event less frequently than

 monthly. The Special Master is also directed to facilitate periodic conversations between the Parties

 with respect to the developing state of the science in advance of the January 8, 2021 disclosures.

 V.      FILING OF DISPOSITIVE MOTIONS.

         Nothing in this Order is intended to preclude Defendants from filing any dispositive motion

 they believe is timely and would efficiently advance this MDL.

 VI.     AGREED EXTENSION OF DISCOVERY DEADLINES.

         Nothing in this Order shall be interpreted to restrict the ability of the parties to stipulate in

 writing to an extension of discovery deadlines or to move for an extension of discovery deadlines as

 permitted by the Rules. If any discovery extension would adversely impact non-discovery deadlines

 in this case, the parties must obtain Court approval.

         DONE and ORDERED in Chambers, West Palm Beach, Florida, this 18th day of June,

 2020.



                                                    ____________________________________
                                                    ROBIN L. ROSENBERG
                                                    UNITED STATES DISTRICT JUDGE


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